Case 2:03-cV-02868-.]DB-tmp Document 26 Filed 07/25/05 Page 1 of 2 Page|D 40

 
 

IN THE UNITED sTA'rEs DISTRICT CoURT -Fn£o ay 331 D (,
FoR THE WESTERN DISTRICT oF TENNESSEE '”'
WESTERN DIvisIoN 05 JUL 25 pH 3, 33
MARY ANN LAZAR, THOJMSM 9
CLH§"?' §§ ,D-'S?’:@:Yc`%t)sr
Plaintiff, W!D Qe :_t; §?¥§9}113
v. No. 03-2868-13/1>

EZPAWN TENNESSEE, INC.,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Bifurcated Trial filed on July 22, 2005.

This motion is referred to the United States Magistrate Judge for determination Any objections
to the magistrate judge’s order shall be made within ten (10) days after service of the order, setting
forth particularly those portions of the order objected to and the reasons for the objections Failure to
timely assign as error a defect in the magistrate judge’s order Will constitute a waiver of that objection
§c;e Rule 72(a), Federal Rules of Civil Procedure.

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rr rs So 0RDERE1) this 25 day of Juiy, 2005.

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J. DANIEL BREEN
U IT D STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:03-CV-02868 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

